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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIG. [] fl = r

SOUTHERN DIVISION
OCT 13 2085 i

HSBC Bank Middle East Limited, a Jersey

Limited Liability Compan CLERK’S OFFICE
7 mompany DETROIT
Plaintiff,
Ve Case No. 2:15-cv-13266-BAF-APP

Waleed M. Yaghmour, Hon. Bernard A. Friedman

Defendant.

 

DEFENDANT'S MOTION TO DISMISS
Comes now, Defendant Waleed M. Yaghmour, pro se, and does file this motion
pursuant to Rule 12(b)(1) for dismissal of Plaintiff's complaint insofar as
Plaintiff has failed to state a claim upon which relief may be granted by the
Court.
Plaintiff has filed this action, seeking to re-cpen Defendant's January
25, 2015 administrative forfeiture proceedings in this Civil Case No.
2:13-cv-13596 so that the Court may amend the Defendant's January 25, 2015
forfeiture judgment. However, because (1) the Court lacks jurisdiction to
amend the forfeiture judgment and (2) Plaintiff's complaint is untimely and
therefore Plaintiff has failed to state a claim upon which relief may be granted.
Accordingly, Defendant seeks dismissal of the complaint with prejudice.
ARGUMENT FOR DISMISSAL
A. The District Court Lacks Jurisdiction to Hear Plaintiff's Complaint, as
Such Plaintiff's Complaint Must be Dismissed for Lack of Subject Matter
Jurisdiction.
It is well settled law that a Court lacks jurisdiction to review a previously

imposed administrative judgment upon the expiration of the 30-day statute of

limitation. See United States v. Campbell, 3 Fed. Appx.' 381 (6th Cir. 2001).

 

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As stated in the complaint, the administrative judgment in this matter was
entered on January 25, 2015. Thus, pursuant to 21 U.S.C. § 853, Plaintiff

had 30 days from that date in which to file a timely interested third party
claim which would have been due no later than February 24, 2015. However,

the present complaint was filed on September 16, 2015, almost 7 months after
the statutory deadline date. A review of the Court's record finds no other
complaint filed by Plaintiff other than the present complaint. Therefore,
Defendant argues that the Court lacks subject matter jurisdiction to entertain
this complaint.

Motions brought pursuant to Rule 12(b)(1) challenge whether the district
court has jurisdiction over the action. See Fed. R. Civ. P. 12(b)(1). A court
may dismiss a case for lack of subject matter jurisdiction on any of the following
bases: "'(1) the complaint alone; (2) the complaint supplemented by undisputed
facts evidenced in the record; or (3) the complaint supplemented by undisputed

facts plus the court's resolution of disputed facts. Bucksport Water Sys.,

 

Inc. v. Weaver Eng'g, Inc., No. 4:13-cv-02503-RBH, 2013 U.S. Dist. LEXIS 156067,

 

2013 WL 5914410, at *2 (D.S.C. Oct. 31, 2013)(quoting Norman ve Owens, No.
5:12-cv-01158-RBH, 2013 U.S. Dist. LEXIS 112002, 2013 WL 4042038, at *3 (D.S.C.

Aug. 7, 2013)); see also Johnson v. United States, 534 F.3d 958, 962 (8th Cir.

 

2008)). Generally, challenges to jurisdiction under Rule 12(b)(1) may be raised

in one of two ways: as a facial attack or as a factual attack. See United

States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994).

A facial attack questions whether the allegations in the complaint are
sufficient to sustain the court's jurisdiction. Id. Thus, "[iJ]n a facial
challenge, the Plaintiff is afforded the same procedural protections as. he
would be accorded when faced with a motion to dismiss for failure to state

a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.”

Id. Therefore, “all alleged facts are taken as true and the motion will be

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denied if the complaint alleges facts that, if proven, would be sufficient
to sustain jurisdiction." Id.

A factual attack, on the other hand, challenges the truthfulness of the
jurisdictional allegations in the complaint. Id. “In a factual challenge,
a trial court 'may then go beyond the allegations of the complaint and in an
evidentiary hearing determine if there are facts to support the jurisdictional

allegations.'" Id. (quoting Kems v. United States, 585 F.3d 187, 193-94

 

(4th Cir. 2009)). In a factual challenge, the court is to “regard the pleadings'
allegations as mere evidence on the issue, and may consider evidence outside
the pleadings with coverting the proceeding to one for summary judgment.”

Richmond, F. & P.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991)(citing

 

Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982)). The district court should
apply the standard applicable to a motion for summary judgment, under which
the non-moving party must set forth specific facts beyond the pleadings to

show that a genuine issue of material fact exists. Id.; see also Trentacosta

 

v. Frontier Pac. Aircraft Indus., 813 F.2d 1553, 1559 (9th Cir. 1987). However,

 

where the jurisdictional facts are intertwined with the facts central to the
merits of the dispute, the entire factual dispute is appropriately resolved
only by a proceeding on the merits. Adams v. Bain, 697 F.2d 1213, 1219 (4th
Cir. 1982).

Plaintiff asserts that 18 U.S.C. § 983 provides jurisdiction for the Court

 

to entertain this action. Defendant, however, argues that there is no jurisdictional

basis because Plaintiff seeks a review of the merits of an administrative forfeiture
claim. "Most judicial challenges to an administrative forfeiture are foreclosed
by the plaintiff's failure to use the mechanism provided in the forfeiture

statute and regulations." United States v. Campbell, 3 Fed. App'x 381, 383

 

(6th Cir. 2001). If a petitioner fails to timely file a claim and waives "its

opportunity for judicial forfeiture proceedings during the administrative process,”
 

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“may not. . . attempt to correct its choice of remedy in federal court." Malladi
Drugs & Pharms., Ltd. v. Tandy, 552 F.3d 885, 889, 384 U.S. App. D.C. 232 (D.C.
Cir. 2009). |

The Fourth Circuit has recognized that § 983(e) allows a petitioner to
challenge a forfeiture "if he did not know or have reason to know of the seizure
within sufficient time to file a timely claim.“ United States v. Martins,
475 Fed. App'x 873 (4th Cir. 2012). More specifically, the Fourth Circuit
has explained that federal courts have general federal question jurisdiction
to entertain an equitable cause of action challenging an administrative forfeiture

which was based on inadequate notice. United States v. Minor, 228 F.3d 352,

 

357 (4th Cir. 2000); see also United States v. Pierce, No. 4:03-474-24-CWH,
2007 U.S. Dist. LEXIS 29837, 2007 WL 1202556, at *1 (D.S.C. Apr. 23, 2007)("Because
the defendant did not contest the administrative forfeiture by timely filing |
a claim for the currency, the Court only has jurisdiction to determine whether
the defendant received adequate notice of the seizure."); City of Concord v.
Robinson, 914 F.Supp. 2d 696, 705 (M.D.N.C. 2012)("[W]ith the exception of
notice issues, federal courts have no jurisdiction to hear claims that a completed
administrative forfeiture violated the property owner's constitutional rights.").
B; Plaintiff's Complaint is Untimely

Plaintiff asks the Court to re-open Defendant's January 25, 2015 administrative
forfeiture proceedings so that it may extract a new order from the Court reimbursing
them the sum of $973,177.87 paid to the government on the Defendant's behalf
without his knowledge or consent. The problem for the Plaintiff is that the
complaint is simply out of time. As the Court knows, Plaintiff should have
filed the current complaint, no later than February 24, 2015. For reasons
not stated in the complaint, Plaintiff did now file the complaint in a timely
fashion, thus any action filed at this late date is barred by the statute of

limitation.
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Third Party Interests:
21 U.S.C. § 853(n)(2) provides in part; any person, other than the defendant,
asserting a legal interest in property which has been ordered forfeited to
the United States pursuant to this section may, within thirty days of the final
publication of notice or his receipt of notice under paragraph (1), whichever
is earlier, petition the Court for a hearing to adjudicate the validity of
his alleged interest in the property. Here, according to the complaint on
January 25, 2015, the district court signed a preliminary order of forfeiture
pursuant to 21 U.S.C. § 853. Counsel for the Plaintiff was present and notified
of the Court's entry, see Plaintiff's Exhibit 8, at 7, and therefore Plaintiff
had 30 days from January 20, 2015 in which to file a motion as an interested
third party under 21 U.S.C. § 851(n)(2). However, Plaintiff's complaint was
not filed until September 16, 2015 and served on the Defendant on October 1,
2015. Thus, the complaint is barred by the statute of limitations and the

Court lacks jurisdiction to hear the present matter. See United States v.

 

Grossman, 501 F.3d 846 (7th Cir. 2007); United States v. Marion, 561 F.3d 1330

 

(llth Cir. 2009); United States v. Alvarez, 710 F.3d 565 (5th Cir. 2013); United

 

States v. Carmichael, (2006, MD Ala) 440 F.Supp. 2d 1280 (2006). Accordingly,

 

Defendant moves the court for an order to dismiss Plaintiff's complaint in
its entirety with prejudice.
C. No Response is Due at This Time
The Defendant gives notice that his response to Plaintiff's complaint
comes in the form of a motion under Fed. R. Civ. P. 12(a)(4) provides that
when a motion is filed under Rule 12, if the motion is denied or disposition
is postponed until, the answer must be served with 14 days after the notice
of the Court's action. Since the Defendant has timely filed a motion to dismiss

under Rule 12, no answer to Plaintiff's complaint is required at this time.
 

 

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CONCLUSION
For the reasons set forth above, Defendant respectfully request that the
Court dismiss Plaintiff's complaint in its entirety with prejudice for lack

of jurisdiction.

Respectfully submitted,

 

Waleed M. Yaghmour, 48259-039
Federal Correctional Institution
P.O. Box 1000

Morgantown, West Virginia 26507-1000

CERTIFICATE OF SERVICE
I do hereby certify that the above true and correct Motion to Dismiss
Plaintiff's complaint was provided to the Clerk or the Court. I further certify
that one true copy of said motion was served upon counselor for Plaintiff at
the address listed below. All original and copies of said Motion to Dismiss
were deposited, postage prepaid, into the prison legal mail service on this,

the B day of October, 2015.

Richard E. Zuckerman
660 Woodward Avenue
Suite 2290

Detroit, MI 48226-3506

 

 

 

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Waleed Yaghnour

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United States

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